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 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
 9
10    UNITED STATES OF AMERICA,                          No. CR19-125-RSL
11                            Plaintiff,
12                       v.                              FINAL ORDER OF FORFEITURE
13
      GUY CRUZ, JR.,
14
15                            Defendant.
16
17
18         THIS MATTER comes before the Court on the United States’ Motion for Entry of

19 a Final Order of Forfeiture (“Motion”) for the following property:
20        1. One Sig Sauer .45 caliber semi-automatic pistol bearing serial number

21              G377199, and any associated ammunition; and,

22         2. One Charter Arms .38 caliber revolver bearing serial number 1522337, and any

23              associated ammunition.

24 The Court, having reviewed the United States’ Motion, as well as the other pleadings and
25 papers filed in this matter, hereby FINDS entry of a Final Order of Forfeiture is
26 appropriate because:
27       x On March 6, 2020, the Court entered a Preliminary Order of Forfeiture finding
28            three firearms, including the two identified above, forfeitable pursuant to 18

     Final Order of Forfeiture - 1                                      UNITED STATES ATTORNEY
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     United States v. Cruz, CR19-125-RSL
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                                                                               (206) 553-7970
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 1            U.S.C. § 924(d)(1), by way of 28 U.S.C. § 2461(c), and forfeiting the
 2            Defendant’s interest in them (Dkt. No. 36);
 3       x Thereafter, the United States published notice of the pending forfeitures as
 4            required by 21 U.S.C. § 853(n)(1) and Fed. R. Crim. P. 32.2(b)(6)(C) (Dkt. No.
 5            40) and provided direct notice to three potential claimants as required by Fed. R.
 6            Crim. P. 32.2(b)(6)(A) (see Declaration of AUSA Michelle Jensen in Support of
 7            Motion for Entry of a Final Order of Forfeiture, ¶ 2, Exs. A – C);
 8       x One third-party claim was filed and settled with return of one of the three
 9            firearms (Dkt. No. 45); and,
10       x The time for filing third-party claims has expired, and no other claims were filed.
11
12         THEREFORE, THE COURT ORDERS:
13         1.       No right, title, or interest in the above-identified firearms and associated
14 ammunition exists in any party other than the United States;
15         2.       The firearms and any associated ammunition are fully and finally
16 condemned and forfeited, in their entirety, to the United States; and,
17         3.       The United States Department of Justice, the Bureau of Alcohol, Tobacco,
18 Firearms and Explosives, and/or their representatives, are authorized to dispose of the
19 firearms and any associated ammunition as permitted by governing law.
20
21         IT IS SO ORDERED.

22
           DATED this         4th day of November, 2020.
23
24
25
26
27                                             THE HON. ROBERT S. LASNIK
28                                             UNITED STATES DISTRICT JUDGE

     Final Order of Forfeiture - 2                                        UNITED STATES ATTORNEY
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     Presented by:
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     Final Order of Forfeiture - 3                              UNITED STATES ATTORNEY
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